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 1                               UNITED STATES DISTRICT COURT
 2                                      DISTRICT OF NEVADA
 3                                                 ***
 4   BALUMA, S.A., d/b/a ENJOY PUNTA DEL                      Case No. 2:20-cv-01424-JAD-EJY
     ESTE & CASINO,
 5
                   Plaintiff,
 6
            v.                                                             ORDER
 7
     BENJAMIN SRIQUI,
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                   Defendant.
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            Pending before the Court is Messner Reeves LLP’s Motion to Withdraw as Counsel for
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     Defendant Benjamin Sriqui. ECF No. 35. Counsel states “that they have reached a substantial
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     impasse in representing Defendant and it is no longer feasible to continue representing him.” Id. at
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     2. A review of the docket in this case reveals that no motions are currently pending and the case is
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     closed. Thus, there appears to be no prejudice that will arise from granting the Motion to Withdraw.
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            Accordingly, IT IS HEREBY ORDERED that Messner Reeves LLP’s Motion to Withdraw
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     as Counsel for Defendant Benjamin Sriqui (ECF No. 35) is GRANTED.
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            Dated this 24th day of November, 2021.
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20                                                ELAYNA J. YOUCHAH
                                                  UNITED STATES MAGISTRATE JUDGE
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